                    Case 19-50921-JKS         Doc 56    Filed 05/16/22     Page 1 of 2




                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

In Re:                                               : Chapter 11
                                                     :
Woodbridge Group of Companies, LLC,                  : Case No.: 17-12560-BLS
                                                     :
                         Debtors.                    :
                                                     :
Michael Goldberg,                                    :
                                                     :
            Plaintiff,                               :
                                                     :
v.                                                   :
                                                     :
All Mark Insurance Services, Inc. and                :
Cameron Johnson,                                     : Adv. Proc. No.: 19-50921-BLS
                                                     :
            Defendant.                               :
                                                     :


                           MEDIATOR’S CERTIFICATE OF COMPLETION

       In accordance with this Court's Order Assigning Adversary Proceeding to Mediation, the
undersigned mediator reports that mediation was resolved in the following manner:

(a) The following individuals were present:

     (1) Counsel (name and party representing):

             Counsel for Plaintiffs:       Jeffrey Nolan, Esq. of Pachulski Stang Ziehl & Jones

             Counsel for Defendant:        Denis Dice, Esq., Douglas Fogle, Esq. and Benjamin J.
                                           Biard, Esq. of Winget, Spadafora & Schwartzberg LLP

(b) The following parties failed to appear and/or participate as ordered:

     (1) Parties (name and capacity): None

(c) The outcome of the mediation conference was:

                          The matter has been completely resolved and counsel (or parties) should file
                          an appropriate stipulation and proposed order within twenty (20) days.




2974084v1
                Case 19-50921-JKS      Doc 56     Filed 05/16/22     Page 2 of 2




                   The matter has been partially resolved and counsel (or parties) have been
                   instructed to file an appropriate stipulation and proposed order regarding those
                   claims or issues which have been resolved within twenty (20) days.
                   The following issues remain for this court to resolve:

            X      The matter has not been resolved and should proceed to trial.

                  OTHER:



Dated: May 16, 2022                              Mediator

                                                 /s/ Leslie A. Berkoff
                                                 Leslie A. Berkoff (#4584)
                                                 MORITT HOCK & HAMROFF LLP
                                                 400 Garden City Plaza
                                                 Garden City, NY 11530
                                                 (516) 873-2000




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